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OAO 245C NNY(Rev. 0912) Amended Judgment in a Criminal Case                                                               (NOTE: Identify Changes with Asterisks (*))
         Sheet 1


                                             UNITED STATES DISTRICT COURT
                            Northern                                      District of                                    New York
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                                   Case Number:                     DNYN514CR000340-001
               STEPHEN M. HOWELLS II
                                                                                   USM Number:                      21618-052

                                                                                   Randi Juda Bianco, OFPD
                                                                                   4 Clinton Square, Third Floor
                                                                                   Syracuse, New York 13202
Date of Original Judgment: December 22, 2015                                       315-701-0080
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G    Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G    Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
G   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G    Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G    Direct Motion to District Court Pursuant   G   28 U.S.C. § 2255 or
                                                                                        G 18 U.S.C. § 3559(c)(7)
                                                                                   X    Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) 1 through 21 of the Superseding Indictment on May 8, 2015.
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section               Nature of Offense                                                                  Offense Ended             Count
18 U.S.C. § 2251(a)           Conspiracy to Sexually Exploit Children                                              08/15/2014                 1
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                                      09/07/2013                 2
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                                      10/20/2013                 3
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                                      11/16/2013                 4
       The defendant is sentenced as provided in pages 2 through                    7          of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   February 16, 2016
                                                                                   Date of Imposition of Judgment




                                                                                   February 24, 2016
JAK
                                                                                   Date
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AO 245B    NNY(Rev. 10/05) Judgment in a Criminal Case
           Sheet 1A
                                                                         Judgment—Page   2   of           7
DEFENDANT:                Stephen M. Howells II
CASE NUMBER:              DNYN514CR000340-001

                                        ADDITIONAL COUNTS OF CONVICTION
Title & Section                Nature of Offense                       Offense Ended              Count
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           11/17/2013                 5
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           12/15/2013                 6
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           12/29/2013                 7
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           04/18/2014                 8
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           05/31/2014                 9
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           08/13/2014                10
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           12/16/2012                11
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           09/22/2013                12
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           11/16/2013                13
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           12/13/2013                14
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           01/24/2014                15
18 U.S.C. § 2251(a)            Sexual Exploitation of Children           04/19/2014                16
18 U.S.C. § 2252A(a)(5)(B)     Possession of Child Pornography           08/15/2014               17-21
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AO 245C       NNY(Rev. 10/05) Amended Judgment in a Criminal Case
              Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page       3       of         7
DEFENDANT:                     Stephen M. Howells II
CASE NUMBER:                   DNYN514CR000340-001


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

          6,960 months (or 580 years). This term consists of 360 months on each of Counts 1 through 16 and 20 years on each
          of Counts 17 through 21; all to be served consecutively.


     X    The court makes the following recommendations to the Bureau of Prisons:

          The defendant be designated to USP Tucson, where he can participate in a sex offender treatment program. Upon
          completion of sex offender treatment, the Court recommends the defendant be placed in a facility close to his family
          in Iowa.

     X    The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
          G    at                                   G a.m.          G p.m.       on                                              .

          G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G    before 2 p.m. on                                              .

          G    as notified by the United States Marshal.

          G    as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

at                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                             By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245C        NNY(Rev. 10/05) Amended Judgment in a Criminal Case
               Sheet 3 — Supervised Release                                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                                             Judgment—Page        4      of         7
DEFENDANT:                    Stephen M. Howells II
CASE NUMBER:                  DNYN514CR000340-001
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
                                                    LIFE on each count to run concurrently.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Deselect, if inapplicable.)
x        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
         as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment, or if such prior
          notification is not possible, then within five days after such change;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, import, or manufacture any
          and all controlled substance and all controlled substance analogues, as defined in 21 U.S.C. § 802, and any paraphernalia related to any
          controlled substances, except that possession and use of a controlled substance properly prescribed by a licensed medical practitioner
          is permitted;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement;
14)       the defendant shall not possess a firearm, destructive device, or any other dangerous weapon;
15)       the defendant shall provide the probation officer with access to any requested financial information; and
16)       the defendant shall submit his or her person, and any property, house, residence, vehicle, papers, effects, computer, electronic
          communications devices, and any data storage devices or media, to search at any time, with or without a warrant, by any federal
          probation officer, or any other law enforcement officer from whom the Probation Office has requested assistance, with reasonable
          suspicion concerning a violation of a condition of probation or supervised release or unlawful conduct by the defendant. Any items
          seized may be removed to the Probation Office or to the office of their designee for a more thorough examination.
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AO 245C    NNY(Rev. 10/05) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                               Judgment—Page       5      of         7
DEFENDANT:                Stephen M. Howells II
CASE NUMBER:              DNYN514CR000340-001

                                       SPECIAL CONDITIONS OF SUPERVISION

The Court has imposed a sentence with the understanding that the defendant will not be released from prison.
Accordingly, no special conditions have been imposed.


            DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend
the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy of them.


                          Defendant                                                     Date


                          U.S. Probation Officer/Designated Witness                     Date
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AO 245C    NNY(Rev. 10/05) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page      6        of          7
DEFENDANT:                      Stephen M. Howells II
CASE NUMBER:                    DNYN514CR000340-001
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                                       Fine                                Restitution
TOTALS           $ 2,100                                          $ Waived                            $ 2,500*


G The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will
    be entered after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                       Total Loss*                 Restitution Ordered                 Priority or Percentage
“Alice” in the At_Dawn series                                                               $500
“Sarah” in the Marineland series                                                          $2,000




TOTALS                               $                                   $                  2,500


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the          G fine    G restitution.
     G the interest requirement for the        G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245C     NNY(Rev. 10/05) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                  (NOTE: Identify Changes with Asterisks (*))

                                                                                                        Judgment — Page       7      of         7
DEFENDANT:                 Stephen M. Howells II
CASE NUMBER:               DNYN514CR000340-001

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    G In full immediately; or
B    X    Lump sum payment of $        2,100                due immediately, balance due

          G not later than                                        , or
          X in accordance with G D,             G E,        G       F, or   X G below; or
C    G Payment to begin immediately (may be combined with G D,                    G E, or         G G below); or
D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

E    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    X Special instructions regarding the payment of criminal monetary penalties:
          Restitution is to be paid in minimum monthly payments of at least 25% of the defendant’s gross monthly
          income while he is incarcerated.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y. 13261-
7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim cannot be located, the restitution
paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G Joint and Several
     G Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
          corresponding payee, if appropriate.


     G The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.

G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      All right, title, and interest in the items listed in the Preliminary Order of Forfeiture signed by the Court on August 4, 2015.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
